Dear Councilman Taffaro:
This office is in receipt of your opinion request where you ask us to consider whether you may enter into a contractual agreement with the St. Bernard Parish Sheriff's Department as a juvenile counselor and continue to hold your position as Councilman, District D., in St. Bernard Parish.  In addressing your inquiry, we look to the Louisiana Dual Officeholding and Dual Employment Laws found in LSA-R.S. 42:61, et seq.
We first look to LSA-R.S. 42:62, which contains the definitions and specifically states:
     "(1) `Elective office' means any position which is established or authorized by the constitution or laws of this state or by the charter or ordinances of any political subdivision thereof, which is not a political party office, and which is filled by vote of the citizens of this state or of a political subdivision thereof.
     (2) `Appointive office' means any office in any branch of government or other position on an agency, board, or commission or any executive office of any agency, board, commission, or department which is specifically established or specifically authorized by the constitution or laws of this state or by the charter or ordinances of any political subdivision thereof and which is filled by appointment or election by an elected or appointed public official or by a governmental body composed of such officials of this state or of a political subdivision thereof.
     (3) `Employment' means any job compensated on a salary or per diem basis, other than an elective or appointive office, in which a person is an employee of the state government or of a political subdivision thereof."
Also pertinent to your inquiry is LSA-R.S. 42:63(D) stating:
     "No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof.  No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board  hold any office or employment with any sheriff, assessor, or clerk of court." (Emphasis added).
Your position with the St. Bernard Parish Government classifies you as a member of a parish governing authority as described in § 63(D).  This section prohibits you from concurrently holding any office or employment with the sheriff.  We must therefore determine whether your proposal to evaluate juveniles for the sheriff's office will be classified as employment for the purposes of LSA-R.S. 42:63(D).  You advise us you will enter into a contractual agreement with the St. Bernard Parish Sheriff Department to perform evaluations of juveniles in the parish juvenile detention center.
This office has previously observed that where an individual enters into a professional service contract, such is not considered to be a job compensated on a salary or per diem basis, and does not constitute employment within the dual officeholding prohibition.  See Attorney General Opinions 95-391, 93-190, 92-43, 90-578.  We are of the opinion that the relationship you intend to enter into with the St. Bernard Parish Government is a professional service contract, and you may enter into this contract and continue in your duties as parish councilman.
We hope the foregoing answers your inquiry.  If this office may be of any further assistance to you, please contact us.
Very truly yours,
                              RICHARD P. IEYOUB ATTORNEY GENERAL
                              BY: __________________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
KLK:ams
Date Received: August 6, 1996
Date Released: September 27, 1996
KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL